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                        UNITED STATES DISTRICT COURT
                          DISTRICT OF CONNECTICUT

LISA KWESELL, CHRISTINE                       :
TURECEK and JASON SCHWARTZ,                   :      CASE NO: 3:19-cv-01098-KAD
Individually and on behalf of all others      :
similarly situated,                           :
                                              :
                       Plaintiffs,            :
                                              :
vs.                                           :
                                              :
YALE UNIVERSITY,                              :      FEBRUARY 23, 2021
                                              :
                       Defendant.             :



            PARTIES’ JOINT MOTION TO POSTPONE ORAL ARGUMENT
               ON PARTIES’ MOTIONS FOR SUMMARY JUDGMENT

       The Parties respectfully move to postpone oral argument on their pending motions for

summary judgment, which is currently scheduled for March 1, 2021. (Dkt. Nos. 61 & 62.) The

parties previously filed cross-motions for summary judgment. (Dkt. Nos. 44 & 54.) Since then,

the parties have initiated serious settlement discussions, and they have become hopeful about the

possibility of resolving this dispute. The parties therefore propose that the Court cancel the

March 1, 2021 oral argument and that the Court further require the parties to submit a joint status

report by April 1, 2021 concerning their settlement discussions, including whether they request a

new argument date for oral argument.
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                                 RESPECTFULLY SUBMITTED,

                                 THE DEFENDANT

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